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CENTRAL DISTRICT OF CALIFORNIA

THOMAS HAGEN, aka EFFERIN
ZEMBALIST DEANS,

NO. CV 03-4581-MMM(E)

Petitioner, ORDER
Vv.

GREGORY KAPUSTA, Warden, et al.,

Respondents.

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IT IS ORDERED that Petitioner shall serve upon Respondents
or, if appearance has been entered by counsel, upon their
attorneys, a copy of every future pleading or other document
submitted for consideration by the Court. He shall include with
the original paper to be filed with the Clerk of the Court a
certificate stating the date that a true and correct copy of the
paper was mailed to Respondents or their counsel. Any paper
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received by a District Judge or Magistrate Judge which has not
been filed with the Clerk or which fails to include a certificate

of service will be disregarded by the Court.

DATED: June 27, 2003.

CHARLES F. BICK
UNITED STATES MAGISTRATE JUDGE

 
